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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                             )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )      C.A. No. 22-1466-MN
                                                    )
TESLA, INC.,                                        )
                                                    )
               Defendant.                           )


                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on May 19, 2023, the following document was served on

the persons listed below in the manner indicated:

       1. Plaintiff Autonomous Devices, LLC’s Disclosures Pursuant to Paragraph 6(a) of the
          Scheduling Order

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Dated: May 22, 2023




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